               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 CR 27-3


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
EZEQUIEL LEAL GARCIA,                        )
                                             )
                 Defendant.                  )
____________________________________         )


       THIS MATTER has come before the undersigned pursuant to a document

entitled “Aftercare Provider Information” provided by the JFK ADATC Treatment

Center located in Black Mountain, North Carolina.         On October 4, 2012 the

undersigned had released Defendant on terms and conditions of release (#33). The

terms and conditions of release provided that Defendant was to participate in a drug

and alcohol treatment program and after Defendant’s completion of the program the

undersigned would consider whether or not Defendant should continue to be released

on terms and conditions of release. The Defendant was admitted to treatment on

October 4, 2012. On October 25, 2012 Defendant was discharged from the treatment

program due to his verbally threatening another patient. The undersigned conducted

a hearing concerning whether or not Defendant should continue to be allowed to be

released on terms and conditions of release on October 26, 2012. At that time,

Defendant appeared with his counsel Noel Tin. Defendant’s counsel advised the



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Court that the Defendant desired to consent to detention. A review of the file shows

that the undersigned revoked the terms and conditions of pretrial release of Defendant

by an Order (#31) which was filed on October 3, 2012. The undersigned then released

Defendant to participate in drug and alcohol treatment. The Defendant has not

completed the treatment and has been expelled from the treatment facility.

      Based upon the findings as set forth previously by the Court in the Order

revoking terms and conditions of pretrial release, and based upon Defendant being

expelled from the treatment facility and with the consent of Defendant and his

attorney, the undersigned will enter an Order revoking the terms and conditions of

pretrial release in this matter and order that Defendant be detained.

                                      ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and terms and

conditions of pretrial release entered in this matter are hereby REVOKED and it is

ORDERED Defendant be detained pending further proceedings in this matter.



                                           Signed: November 6, 2012




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